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 6                          UNITED STATES DISTRICT COURT
 7                        SOUTHERN DISTRICT OF CALIFORNIA
 8    UNITED STATES OF AMERIA                    )   Case No. 08CR3372-LAB
                                                 )
 9                       Plaintiff,              )   JUDGMENT AND ORDER OF
                                                 )   DISMISSAL OF INDICTMENT AND
10          v.                                   )   RECALL ARREST WARRANT
                                                 )
11    MARIO PONCE-MORENO (2),                    )
      HERACLIO VERDUGO-LUTT (4),                 )
12                                               )
                                                 )
13                       Defendants.             )
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14                                               )
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16         Upon motion of the UNITED STATES OF AMERICA and good cause appearing,
17         IT IS HEREBY ORDERED that the Indictment in the above entitled case be
18   dismissed without prejudice, and the Arrest Warrant be recalled.
19         IT IS SO ORDERED.
20         DATED: November 9, 2016.
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                                                 HONORABLE LARRYALAN BURNS
23                                               United States District Judge
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